Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 1 of 50




                  EXHIBITA
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 2 of 50
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 3 of 50
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 4 of 50
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 5 of 50
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 6 of 50
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 7 of 50
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 8 of 50
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 9 of 50
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 10 of 50
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 11 of 50
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 12 of 50
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 13 of 50




                    EXHIBITB
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 14 of 50
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 15 of 50
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 16 of 50
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 17 of 50
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 18 of 50
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 19 of 50
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 20 of 50
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 21 of 50
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 22 of 50
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 23 of 50
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 24 of 50
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 25 of 50
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 26 of 50
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 27 of 50
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 28 of 50
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 29 of 50
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 30 of 50




                     EXHIBITC
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 31 of 50
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 32 of 50
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 33 of 50




                     EXHIBITD
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 34 of 50
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 35 of 50
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 36 of 50




             EXHIBIT E
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 37 of 50
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 38 of 50
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 39 of 50
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 40 of 50
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 41 of 50
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 42 of 50
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 43 of 50
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 44 of 50
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 45 of 50
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 46 of 50
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 47 of 50
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 48 of 50




             EXHIBITF
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 49 of 50
Case 4:22-cv-02363 Document 1-1 Filed on 07/15/22 in TXSD Page 50 of 50
